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EXHIBIT “Q”
Case o-24-Oo0/1-asSt DOC Llo-Ll/ Filed ti/tyv/2z4 entered Llilyi2z4 10lo9706
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eiieeneinemnes ne FILED
Debtor 1_ Blue Diamond Air Systems, Inc U.S. Bankruptcy Conrt
Debtor 2 Eastern District of New York
(Spouse, if filing) 6/15/2023
Case number 22=72698 istri York Robert A, Gavin, Clerk
Official Form 410
Proof of Claim 04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Fllers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted coples of any
documents that support the claim, such as promissory notes, purchase orders, invoices, Itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not avallable,

explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, Imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the Information about the claim as of the date the case was filed. That date Is on the notice of bankruptcy (Form 309) that you received,

a Identify the Claim

1.Who is the current Stephen DiMeglio
creditor?

Name of the current creditor (the person or entity to be paid for this claim)

Other names the creditor used with the debtor

2.Has this claim been No

acquired from Ol Yes. From whom?
someone else?
8.Where should notices Wi tS elle
and payments to the SE
creditor be sent? Stephen DiMeglio
Federal Rule of Name Name
Bankruptcy Procedure .
(FRBP} 2002(g) c/o RMF PC, Attn: Adam Silvers

1425 RXR Plaza
East Tower, 15th Floor

Uniondale, NY 11556

Contact phone 516-663-6600 Contact phone
Contact email asilvers@rmfpc,com Contact email

Uniform claim identifier for electronic payments in chapter 13 (if you use one):

4.Does this claim amend No
one already filed? EL] Yes, Claim number on court claims registry (if known) Filed on

MM / Dp iyyyy

5,Do you know if anyone No

else has filed a proof © Yes. Who made the earlier filing?
of claim for this claim?

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Give Information About the Claim as of the Date the Case Was Filed

6.Do you have any
number you use to

No
[1 _sYes. Last 4 digits of the debtor's account or any number you use to identify the debtor:

identify the debtor?
7.How much is the $ unknown Does this amount include interest or other charges?
claim? No
OO Yes. Attach statement itemizing interest, fees, expenses, or
other charges required by Bankruptcy Rule 3001(c)}(2)(A).
8. What is the basis of Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
the claim? death, or credit card. Attach redacted copies of any documents supporting the claim required by

Bankruptcy Rule 3001(c).
Limit disclosing information that is entitled to privacy, such as heaithcare information.

See Rider
9. Is all or part of the No
claim secured? ZC Yes. The claim is secured by a lien on property.
Nature of property:

[] Realestate. If the claim is secured by the debtor's principal residence, file a Morigage
Proof of Claim Attachment {Official Form 410-A) with this Proof of Claim.
1 Motor vehicle

[i Other, Describe:

Basis for perfection:

Attach redacted copies of documents, if any, that show evidence of perfection of a security
interest (for example, a mortgage, lien, certificate of title, financing statement, or other
document that shows the lien has been filed or recorded.)

Value of property: 4%

Amount of the claim that is §

secured:

Amount of the claim that is $ (The sum of the secured and
unsecured: unsecured amounis should

match the amount in line 7.)

Amount necessary to cure any defaultas ofthe ¢
date of the petition:

Annual Interest Rate (when case was filed} %

LC sFixed
1] Variable

10.Is this claim based on
a lease?

No
O Yes. Amount necessary to cure any default as of the date of the petition.$

a right of setoff?

H1.Is this claim subject to No
Oo

Yes. Identify the property:

Official Form 410

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Case 8-22- f2698-ast

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Claim 61-1 ~Filed UG/15/23 Desc MainDocument Page 3 oT3

12, [Is all or part of the claim

entitled to priority under
11 U.S.C. § 507 (aj?

MM No

Cl Yes, Check all that apply: Amount entitled to priority

A claim may be partly
priority and partly
nonpriority. For example,
in some categories, the
lawl imits the amount

E] Domestic support obligations {including alimony and child support} ¢
under 11 U.S.C. § 507(a){1}(A) or (a}{1)(B).

Up to $3,350" of deposits toward purchase, lease, or rental of $

entitled to priority.

property or services for personal, family, or household use, 11
U.S.C, § 507(a)(7).

C1 Wages, salaries, or commissions (up to $15,150") earned within =
180 days before the bankruptcy petition is filed or the debtor's
business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).

C2 Taxes or penalties owed to governmental units. 11 U.S.C. § $
507(a)(8).

DO) Contributions to an employee benefit plan. 11 U.S.C. § 507(a}(5). ¢

QD Other. Specify subsection of 11 U.S.C. § 507(a}_} that applies $

* Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date
of adjustment.

Sign Below

The persen completing
this proof of claim must
sign and date it. FRBP
9011{b).

If you file this claim
electronically, FRBP
5005(a}{(?) authorizes courts
to establish local rules
specifying what a signature
is.

A person who files a
fraudulent claim could be
fined up to $500,000,
imprisoned for up to §
years, or both.

18 U.S.C, §§ 152, 157 and
3571,

Check the appropriate box:

Jam the creditor,

OO slam the creditor's attorney or authorized agent.

tam the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004,
[ lam a guarantor, surety, endorser, or other codebtor, Bankruptcy Rule 30085,

| understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt,

| have examined the information in this Proof of Claim and have a reasonable belief that the information is true
and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on date 6/15/2023

MM/DDIYYYY

‘sf Stephen DiMeglio

Signature

Print the name of the person who is completing and signing this claim:

Name Stephen DiMeglic
First name Middle name Last name

Title

Company
Identify the corporate servicer as {he company if the authorized agent is a
servicer

Address 755 Harbor Lane

Number Street
Cutchogue, NY 11935

Clty State ZIP Code

Contact phone 516-523-4791 Email — sdimeglio631 @yahoo.com

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Sheryl P. Giugliano

RUSKIN MOSCOU FALTISCHEK, P.C.
East Tower, 15th Floor

1425 RXR Plaza

Uniondale, New York 11556-1425

(516) 663-6600

Attorneys for Stephen DiMeglio

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: Chapter 7
BLUE DIAMOND AJR SYSTEMS, INC., Case No. 22-72698 (AST)

Debtor.

x

RIDER TO PROOF OF CLAIM FILED BY STEPHEN DIMEGLIO

]. Basis for Claim

a. This proof of claim (the “Proof of Clainy’) is asserted by Stephen DiMeglio (the
“Claimant”) against Blue Diamond Air Systems, Inc. (the “Debtor’), in the above-
captioned chapter 7 case (the “Bankruptcy Case”).

b. This Proof of Claim arises from amounts owed to Claimant under that certain
Consulting Agreement (the “Consulting Agreement”) by and among Claimant,
Blue Diamond Sheet Metal, Inc., Diam-N-Blue Mechanical Corp. and Mirage
Mechanical Systems, Inc., each a New York corporation, and Blue Station Realty
LLC, a New York limited liability company (collectively, the “Companies”).

2. Background.
a. Claimant was a shareholder in and member of each of the Companies.
b. Under the Consulting Agreement, Claimant served as a consultant on a non-

exclusive basis to provide certain consulting services to the Companies. In
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consideration for those consulting services, Claimant was supposed to receive
forty-two (42) monthly payments in the amount of $3,683,33 on the fifteenth (1 5th)
day of every month for forty-two (42) months. The Companies agreed to be jointly
and severally liable under the Consulting Agreement for the monthly payments due
to Claimant.

c. Upon information and believe, the Debtor is the result of a merger between one or
more of the Companies and, therefore, is jointly and severally liable for any
amounts owed to Claimant under the Consulting Agreement.

d. On October 4, 2022 (the “Petition Date”) the Debtor filed a voluntary petition for
relief under chapter 11 of title 11, United States Code (the “Bankruptcy Code”).

e, On February 10, 2023, the Court entered and Order (ECF Doc. No. 140) granting a
motion to convert the Debtor’s case to one under chapter 7 of the Bankruptcy Code.

3. Amount of Claim.

a. As of the Petition Date, Claimant is owed a general unsecured claim in the amount
of not less than $81,033.26 for twenty-two (22) unpaid monthly payments due
under the Consulting Agreement.

b, Claimant reserves its right to amend this Proof of Claim to assert additional claims
it may hold, and to assert a different classification or amount of the Proof of Claim.

4, Classification of Claim.

The Proof of Claim is asserted as a general unsecured claim. Claimant reserves the
right to amend this Proof of Claim to assert a different or additional classification of claims,

as well as claims against different or additional debtors.
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5. Credits and Setoffs.

As of the date of this Proof of Claim, Claimant has not received any payments to
reduce the amount set forth herein.
6. Supporting Documents.
The documents supporting the Proof of Claim can be provided upon request to the
chapter 7 trustee and his retained professionals to the extent the trustee does not already
have them in his possession,

7. Reservation of Rights.

Claimant reserves the right to amend or supplement this Proof of Claim to reflect
any additional claims against the Debtor or any of its debtor or non-debtor affiliates, to
specify interest, costs, expenses, or other charges or claims incurred by Claimant and to
file additional claims which may be based on the same or additional documents.

8. No Waiver.

This Proof of Claim is filed to protect Claimant from forfeiture of the Proof of
Claim. The filing of this Proof of Claim is not: (a) a waiver or release of Claimant’s rights
against any person, entity, or property including but not limited to the Debtor or its debtor
or non-debtor affiliates; (b) a consent by Claimant to the jurisdiction of the United States
Bankruptcy Court for the Eastern District of New York with respect to the subject matter
of the Proof of Claim or any objection or other proceeding commenced in the Debtor’s
chapter 7 case against or otherwise involving Claimant; (c) a waiver of the right to move
to withdraw the reference or otherwise to challenge the jurisdiction of the Bankruptcy
Court; (d} an election of remedy; (¢) a waiver of any rights or claims Claimant has against

the Debtor or any of its debtor or non-debtor affiliates or any person or entity with respect
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to any pending or future litigation or to any matters related to such litigation; or (f) a waiver
of past, present, or future defaults or events of default.
9. Notices.
Alt notices to Claimant should be sent to:

Ruskin Moscou Faltischek, PC
1425 RXR Plaza
East Tower, 15" Floor
Uniondale, NY 11556-1425
Attn: Adam Silvers
asilvers@rmfpc.com

